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 7

 8                                        UNITED STATES DISTRICT COURT

 9                                     NORTHERN DISTRICT OF CALIFORNIA

10

11   BOARD OF TRUSTEES OF THE                            Case No.: 4:22-cv-01040-DMR
     LABORERS HEALTH AND WELFARE
12   TRUST FUND FOR NORTHERN                             NOTICE OF MOTION AND MOTION
     CALIFORNIA; BOARD OF TRUSTEES OF                    FOR DEFAULT JUDGMENT
13
     THE LABORERS VACATION-HOLIDAY
14   TRUST FUND FOR NORTHERN
     CALIFORNIA; BOARD OF TRUSTEES OF
15   THE LABORERS PENSION TRUST FUND                     DATE: August 25, 2022
     FOR NORTHERN CALIFORNIA; and                        TIME: 1:00 p.m.
16   BOARD OF TRUSTEES OF THE                            CTRM: 4, 3rd Floor
     LABORERS TRAINING AND RETRAINING                          Ronald Dellums Federal Bldg.
17
     TRUST FUND FOR NORTHERN                                   1301 Clay Street
18   CALIFORNIA,                                               Oakland, CA 94612

19                                  Plaintiffs,          Via Zoom video webinar
20             vs.                                       Hon. Donna M. Ryu
21
     CPM ENVIRONMENTAL, INC., a California
22   corporation,

23                                  Defendant.
24

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 1                                  I. NOTICE OF MOTION
 2   TO:      DEFENDANT CPM ENVIRONMENTAL, INC., a California corporation:
 3            YOU ARE HEREBY NOTIFIED that on August 25, 2022 at 1:00 p.m. in Courtroom 4,
 4   3rd Floor, Ronald Dellums Federal Building, 1301 Clay Street, Oakland, California, plaintiffs
 5   Board of Trustees of the Laborers Health and Welfare Trust Fund for Northern California,
 6   Board of Trustees of the Laborers Vacation-Holiday Trust Fund for Northern California, Board
 7   of Trustees of the Laborers Pension Trust Fund for Northern California, and the Board of
 8   Trustees of the Laborers Training and Retraining Trust Fund for Northern California
 9   (“Plaintiffs”) will and hereby do move this Court for default judgment. The motion is based on
10   this Notice of Motion and Motion for Default Judgment; the accompanying Memorandum of
11   Points and Authorities in Support of Motion for Default Judgment, Declaration of Michelle
12   Lauziere in Support of Plaintiffs’ Motion for Default Judgment (“Lauziere Decl.”), Declaration
13   of Ronald L. Richman in Support of Plaintiffs’ Motion for Default Judgment (“Richman
14   Decl.”); all pleadings, papers, and records in this action; and such other and further oral
15   argument as may be offered to the Court.
16                                   II. INTRODUCTION
17            Plaintiffs seek judgement against defendant CPM Environmental, Inc.
18   (“CPM Environmental”) on the First Cause of Action for Breach of Collective Bargaining
19   Agreement and Second Cause of Action for Recovery of Unpaid Trust Fund Contributions
20   pursuant to ERISA, §§502(g)(2), 515; 29 U.S.C. §§1145, 1132(g)(2); ERISA §§409(a),
21   502(a)(2); 29 U.S.C. §§1109(a), 1132(a)(2). See Complaint [Dkt. No. 1] at ¶¶8-20.
22            Pursuant to the First Cause of Action, Plaintiffs are entitled to recover $73,871.92 in
23   liquidated damages for employee fringe benefit contributions that were paid, but paid late, for
24   the period June 2019 through August 2021, calculated as of May 3, 2022. See Complaint [Dkt.
25   No. 1] at ¶13(c); see also, Lauziere Decl. at ¶¶ 21, EXHIBIT K.
26            Pursuant to the Second Cause of Action, Plaintiffs are entitled to recover contributions
27   that were reported, but not paid (reported, not paid) under two collective bargaining agreements
28   (as described below) in the amount of $337,402.08, plus accrued interest, for the period



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 1   September – December 2021; and January - March 2022. See Complaint [Dkt. No. 1] at
 2   ¶¶13-22; Lauziere Decl. ¶¶23-33, EXHIBITS L, M, P, Q.
 3            Pursuant to the Third Cause of Action, Plaintiffs are entitled to a mandatory injunction to
 4   audit the books and records of CPM Environmental for the period September 1, 2018, through
 5   the last completed quarter prior to entry of judgment. See Complaint [Dkt. No. 1] at ¶¶21-24.
 6            Plaintiffs are further entitled to recover their attorneys’ fees and costs in the amount of
 7   $6,101.10. See the accompanying Declaration of Ronald L. Richman in Support of Plaintiffs’
 8   Motion for Default Judgment (“Richman Decl.”) at ¶¶4-6, EXHIBIT A.
 9                          III. SUBJECT MATTER JURISDICTION
10            The Court has subject matter jurisdiction over this case pursuant to 29 U.S.C. §185
11   (granting labor union organizations power to sue employers in federal court), 29 U.S.C. §1132
12   (empowering ERISA plan fiduciaries to bring civil actions to enforce plan terms), and
13   supplementary jurisdiction pursuant to 28 U.S.C. §1367(a).
14                                  IV. PERSONAL JURISDICTION
15            The Court has personal jurisdiction because the Trust Funds contributions are made to,
16   and benefits are paid from, a corporate co-trustee bank in this judicial district (See Complaint
17   [Dkt. No. 1] at ¶ 1) and because defendant has its principal place of business in San Francisco,
18   California. See Complaint [Dkt. No. 1] at ¶7.
19                      V. SERVICE OF PROCESS ON DEFENDANT
20            On March 1, 2022, defendant was served with the summons and complaint. [Dkt.
21   No. 9]. Defendant failed to appear and on May 3, 2022, the Clerk of Court entered the default
22   of defendant. [Dkt. No. 11].
23                                      VI. BACKGROUND
24   A.       Plaintiffs Laborers Trust Funds
25            Plaintiffs Trust Funds are multi-employer, employee benefit plans within the meaning of
26   §§3(3) and 3(37) of the Employee Retirement Income Security Act (“ERISA”), 29 U.S.C.
27   §§1002(3) and 1002(37). The Trustees of the Boards of Trustees are the administrators and
28   named fiduciaries for the Laborers Trust Funds.



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 1            The Trust Funds, established under trust agreements, consist of all employee fringe
 2   benefit contributions that are to be made by employers pursuant to collective bargaining
 3   agreements as well as all returns on contributions and any other property received or held by the
 4   Trust Funds. Lauziere Decl. ¶11, EXHIBITS A and B. The Trust Agreements for each Fund
 5   contain identical terms and conditions. Lauziere Decl. ¶12.
 6            Further, and within the trust agreement of the Laborers Pension Trust Fund for Northern
 7   California (“Pension Trust Fund”), Section 13 of Article IV – Functions: Powers of the Board,
 8   provides for the establishment and maintenance of a related Annuity Fund and Annuity Plan.
 9   Section 13 designates the Trustees of the Pension Trust Fund as named fiduciaries with
10   exclusive authority to control, manage and administer the Annuity Fund and Plan within the
11   Laborers Pension Trust Fund for Northern California. Lauziere Decl. ¶13, EXHIBIT C.
12            The Trust Funds provide a wide variety of benefits for laborers, retired laborers and
13   other related, covered employees on whose behalf employee fringe benefit contributions are
14   made pursuant to one or more collective bargaining agreements. The duties of the Boards of
15   Trustees to the Trust Funds include ensuring that employers who are signatories to these
16   collective bargaining agreements comply with the terms and conditions therein, namely,
17   payments and contributions to the Trust Funds on behalf of the covered employees. The Trust
18   Agreement permits the Boards of Trustees to seek judicial relief to recover prompt payment of
19   contributions due, including the recovery of delinquent contributions, and further, to seek all
20   attorneys’ fees and costs incurred in a lawsuit to recover the delinquent contributions. Lauziere
21   Decl. ¶14, EXHIBIT D.
22            The Trust Agreement further provides that an employer must submit to an audit by the
23   Board of Trustees. Lauziere Decl. ¶15, EXHIBIT E.
24   ///
25   ///
26   ///
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28   ///



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 1            The Trust Agreement provides the Board of Trustees the authority to enact policies that
 2   are also binding on CPM Environmental. Specifically, Article IV, Section 4(H), states:
 3                      [T]he Board of Trustees shall have power to:. . . (H) Enter into
                        contracts or policies in its own name or in the name of the Fund;
 4                      terminate, modify or renew any contracts or policies subject to the
                        provisions of the Pension Plan and the Trust Agreement; and
 5                      exercise and claim all rights and benefits granted to the Board or
                        the Fund by any contracts or policies; …
 6

 7   See the Lauziere Declaration at ¶¶19, 29, EXHIBIT J.
 8            The Liquidated Damages Program – Board Policy enclosed with the Lauziere
 9   Declaration, EXHIBIT I, was enacted by the Board of Trustees pursuant to its authority at
10   Article IV, Section 4(H). This Policy became effective as of July 1, 2014, and thereby became
11   immediately binding on CPM Environmental by virtue of the Memorandum Agreement
12   executed on August 24, 2018. Lauziere Decl. ¶18, 28, EXHIBIT I.
13   B.       Defendant CPM Environmental, Inc.
14            CPM Environmental became bound by these Trust Agreements upon executing two
15   separate agreements described below. Lauziere Decl. ¶¶7(a)-7(b), 17-21, EXHIBITS F–G.
16            1.        Asbestos and Lead Removal Agreement
17            CPM Environmental first became bound to the Trust Agreements when, on
18   August 24, 2018, it executed a signature page to the 2016-2019 Northern California Asbestos
19   and Lead Removal Agreement between the Association of Environmental Contractors and the
20   Northern District Council of Laborers (“Asbestos and Lead Removal Agreement”). Lauziere
21   Decl. ¶7(a), 20, EXHIBIT F.
22            Section 5.2, including Sections 5.2.1 – 5.2.3 therein, requires that employers make
23   contributions to the Trust Funds based on the hours that their respective employees worked as
24   laborers. Lauziere Decl. ¶17, EXHIBIT H.
25            2.        Project Labor Agreement
26            On October 28, 2021, CPM Environmental executed a Letter of Assent, agreeing to be
27   bound to the Port of Oakland Maritime and Aviation Project Labor Agreement (“Project Labor
28   Agreement’). Lauziere Decl. ¶26, EXHIBITS G.



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 1            The Recitals to the Project Labor Agreement provide that the Project Labor Agreement
 2   does not “replace, interfere with, abrogate, diminish or modify existing local or national
 3   collective bargaining agreements”. Article 1, DEFINITIONS at Section 1.16, in the Project
 4   Labor Agreement defines the term “Master Agreement” to mean the Master Collective
 5   Bargaining Agreement of each craft Union signatory hereto. The list of signatory unions, as
 6   identified in Appendix B, includes Laborers’ International Union of North America Local Union
 7   No. 67. Lauziere Decl. ¶27, EXHIBIT N.
 8            The Laborers’ International Union of North America Local Union No. 67 is signatory to
 9   the Laborers’ Master Agreement for Northern California (“Master Agreement”). Lauziere
10   Decl. ¶27, EXHIBIT N.
11            Section 3.10 of the Project Labor Agreement incorporates, by reference, the Master
12   Labor Agreement. Section 15.4 of the Project Labor Agreement provides that each signatory,
13   including CPM Environmental, pay employee fringe benefit contributions pursuant to the
14   appliable Master Labor Agreement. Lauziere Decl. ¶27, EXHIBIT N
15            Section 28 of the Laborers Master Agreement requires that employers make
16   contributions to the Trust Funds based on the hours that their respective employees worked as
17   laborers. See Sections 28A and 28B of the Laborers Master Agreement. Lauziere Decl. ¶28,
18   EXHIBIT O.
19            Employers are to pay the employee fringe benefit contributions on or before the 25th day
20   of the month immediately succeeding the month in which the employee’s work was performed.
21   If the employer fails to make the monthly installments on or before the 25th day of the month in
22   which the employee fringe benefit contributions are due, the employers are subject to interest at
23   the rate of 1.5% per month as well as liquidated damages. Liquidated damages are set at $150
24   for each month that the contribution is delinquent. Lauziere Decl. ¶28, EXHIBIT I.
25   ///
26   ///
27   ///
28   ///



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 1                                  VII. LEGAL ARGUMENT
 2   A.       First and Second Claims for Relief - The Trust Funds Are Entitled To Recover
              Outstanding Employee Fringe Benefit Contributions Due And Owing, Interest And
 3            Liquidated Damages.
 4
              1.        First Claim for Relief, Recovery of Liquidated Damages and Interest on
 5                      Contributions Paid, But Paid Late

 6
              Pursuant to the First Cause of Action, defendant CPM Environmental is liable for
 7
     liquidated damages on contributions that were paid but paid late. ERISA 29 U.S.C.
 8
     §1132(g)(2)(E) provides that the Court may award “such other legal and equitable relief as the
 9
     court deems appropriate.” This “other legal and equitable relief” includes interest and
10
     liquidated damages on employee fringe benefit contributions that were paid but paid late. In
11
     Idaho Plumbers & Pipefitters Health and Welfare Fund v. United Mechanical Contractors, Inc.,
12
     875 F.2d 212, 217 (9th Cir. 1989), the court found that section 1132(g)(2)(E) does not preclude
13
     alternative contractual remedies. Id. at 216. Idaho Plumbers recognized that interest and
14
     liquidated damages could be awarded for contributions that were paid but paid late. Id. at 218.
15
     The issue was the amount of liquidated damages, not whether the court had authority to award
16
     liquidated damages (the Trust Funds in that case had failed to advise the court why the
17
     liquidated damages rose from 10% to 20%). Id.; see also Board of Trustees v. JRD, 99 F.
18
     Supp.2d 1115 (C.D. Cal. 1995). In JRD, the employer paid the contributions, but paid late. The
19
     court awarded liquidated damages for the contributions paid but paid late. Id. at 1118; see also
20
     Northeast Administrators v. Albertsons, 104 F.3d 253 (9th Cir. 1996).
21
              During the period June 2019 – August 2021 CPM Environmental paid employee fringe
22
     benefit contributions as reported, but failed to pay the employee fringe benefit contributions on
23
     time, i.e., prior to the 25th of the month immediately succeeding the month in which the
24
     employee’s work was performed. For example, for the June 2018 contributions due and owing,
25
     payment of the contributions is due on before the 25th of July 2018. In each instance, CPM
26
     Environmental failed to pay contributions on time. Lauziere Decl. ¶21, EXHIBIT K.
27
              Liquidated damages and interest on contributions that were paid but paid late amount to
28
     $73,871.92 as show in the Statement of Interest and Liquidated Damages [Paid, Paid Late] as


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 1   prepared by the Laborers’ Funds Administrative Office of Northern California, Inc. (the “Fund
 2   Office”). Lauziere Decl. ¶21-22, EXHIBIT K.
 3            2.        Second Claim for Relief, Recovery of Unpaid Contributions, Liquidated
                        Damages and Interest.
 4

 5            Pursuant to the Second Cause of Action, defendant CPM Environmental reported, but
 6   failed to pay (reported, not paid), contributions under both the Asbestos and Lead Removal
 7   Agreement, and the Project Labor Agreement.
 8                     a.       Delinquent Contributions, Liquidated Damages and Interest on
                                Contributions Reported, Not Paid – Asbestos and Lead Removal
 9                              Agreement
10            During the period September – December 2021; and January – March 2022, CPM
11   Environmental reported, but failed to pay (reported, not paid) contributions in the principal
12   amount of $337,402.08. Lauziere Decl. ¶23, see, also, the Statement of Contributions Due
13   Laborers Trust Funds [Reported/Not Paid – Asbestos] attached thereto as EXHIBIT L.
14            Pursuant to the Liquidated Damage Program – Board Policy, described above,
15   employers are subject to interest at the rate of 1.5% per month, as well as liquidated damages,
16   set at $150 for each month that the contribution is delinquent. Interest was calculated at 1.5%
17   per month from the month in which each delinquent contribution for each Laborers Trust Fund
18   was recorded and accumulated, totaling $18,316.15 calculated as of May 11, 2022. Lauziere
19   Decl. ¶24, see also, the Statement of Interest and Liquidated Damages [Reported, Not Paid]
20   attached thereto as EXHIBIT M.
21            Pursuant to 29 U.S.C. §§1132(g)(2)(B) and (C), Plaintiffs Trust Funds are entitled to an
22   additional award in an amount equal to the greater of the interest on the unpaid contributions or
23   liquidated damages at the contract rate. The liquidated damages assessed for the contributions
24   reported, not paid, amount to $1,050.00. Lauziere Decl. ¶25, EXHIBIT M. Therefore, since the
25   amount of the liquidated damages assessed is less than the interest, Plaintiffs Trust Funds are
26   entitled to an additional award of interest at $18,316.15. Lauziere Decl. ¶25, EXHIBIT M.
27   ///
28   ///



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 1                     b.       Delinquent Contributions, Liquidated Damages and Interest on
                                Contributions Reported, Not Paid – Project Labor Agreement
 2

 3            For the month of February 2022, CPM Environmental reported, but failed to pay
 4   (reported, not paid) contributions under the Project Labor Agreement for its employees
 5   performing covered work, in the amount of $1,913.08. Lauziere Decl. ¶31. See, also, the
 6   Statement of Contributions Due Laborers Trust Funds [Reported/Not Paid – LPLA-
 7   ALLFUNDS] attached thereto as EXHIBIT P.
 8            Pursuant to the Liquidated Damage Program – Board Policy, described above, the
 9   employers are subject to interest at the rate of 1.5% per month, as well as liquidated damages,
10   set at $150 for each month that the contribution is delinquent. Interest was calculated at 1.5%
11   per month from the month in which each delinquent contribution for each Trust Fund was
12   recorded and accumulated. The total interest due on the contributions reported, but not paid, is
13   $58.70. Lauziere Decl. ¶32. See, also, the Statement of Interest and Liquidated Damages Due
14   Laborers Trust Funds [Reported/Not Paid], calculated by the Fund Office as of May 11, 2022,
15   and attached thereto as EXHIBIT Q.
16            Pursuant to 29 U.S.C. §§1132(g)(2)(B) and (C), Plaintiffs Trust Funds are entitled to an
17   additional award in an amount equal to the greater of the interest on the unpaid contributions or
18   liquidated damages at the contract rate. The liquidated damages assessed for the contributions
19   reported, not paid, under the Project Labor Agreement amount to $0.00. Lauziere Decl. ¶33,
20   EXHIBIT Q. Therefore, since the amount of the liquidated damages assessed is less than the
21   interest, Plaintiffs Trust Funds are entitled to an additional award of interest at $58.70. Lauziere
22   Decl. ¶33, EXHIBIT Q.
23   B.       Third Claim for Relief - The Trust Funds Are Entitled To a Mandatory Injunction
              Compelling a Further Audit.
24

25            Plaintiffs request a mandatory injunction compelling defendant to submit to an audit of

26   its financial records for the period September 1, 2018, through the last completed quarter to

27   determine the full amount of employer contributions owed to the Trust Funds.

28



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 1            Under the Article IV, Section 7 of the Trust Agreements, CPM Environmental is
 2   contractually obligated to submit to an audit of financial records by the Board of Trustees.
 3   Lauziere Decl. ¶15, EXHIBIT E. Furthermore, the right of employee benefit plans to enforce
 4   such power to audit is long and well established. See, generally, Central States, Southeast &
 5   Southwest Areas Pension Fund v. Central Transport, Inc., 472 U.S. 559, 571 n. 12, 105 S. Ct.
 6   2833, 2840 n. 12 (1985). An audit is “well within the authority of the trustees as outlined in the
 7   trust documents” and is part of “proper plan administration.” Id. at 2846.
 8            Based on the above, plaintiffs are entitled to an audit of defendant’s books and records
 9   for the period September 1, 2018, through the last completed quarter.
10   C.       Plaintiffs Trust Funds are Entitled to Recover Their Attorneys’ Fees and Costs.
11            ERISA, §502(g)(2)(D) and the Trust Agreement at Article IV, Section 3 provides that
12   the employer is to reimburse the Trust Funds for attorneys’ fees and costs incurred in a suit to
13   enforce payment of outstanding contributions. Lauziere Decl. ¶14, EXHIBIT D. The law firm
14   of Bullivant Houser Bailey PC, counsel for Plaintiffs Trust Funds, charged attorneys’ fees and
15   costs for this lawsuit in the amount of $6,101.10. See Richman Decl. at ¶¶4-6, EXHIBIT A.
16   Based on the above, Plaintiffs Trust Funds seek to recover attorneys’ fees and costs against
17   CPM Environmental in the amount of $6,101.10.
18   D.       Plaintiffs Trust Funds are Entitled to a Judgment by Default.
19            In Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986) the Court set forth the
20   following seven factors to consider when addressing a motion for default judgment: (1) the
21   possibility of prejudice to the plaintiff; (2) the merits of plaintiff’s substantive claim; (3) the
22   sufficiency of the complaint; (4) the sum of money at state in the action; (5) the possibility of a
23   dispute concerning material facts; (6) whether the default was due to excusable neglect; and
24   (7) the strong policy underlying the Federal Rules of Civil Procedure favoring decisions on the
25   merits. As discussed below, all the factors weigh heavily in favor of granting plaintiffs Trust
26   Funds’ motion for default judgment.
27   ///
28   ///



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 1            1.        Possibility of prejudice to plaintiffs.
 2            The first factor weighs in favor of granting default judgment because “if Plaintiffs’
 3   motion for default judgment is not granted, Plaintiffs will likely be without other recourse for
 4   recovery.” Pepsico, Inc. v. Cal. Sec. Cans, 238 F. Supp. 2d 1172, 1177 (C.D. Cal. 2002). The
 5   harm suffered by defendant CPM Environmental’s employees by the loss of their benefits
 6   outweighs any harm suffered by defendant in having a default judgment entered against it.
 7            2.        Merits of plaintiffs’ substantive claims and sufficiency of the complaint.
 8            Both the second and third Eitel factors weigh in favor of entry of default judgment. The
 9   evidence presented by Plaintiffs Trust Funds shows that defendant was bound by a written
10   collective bargaining agreement, and project labor agreement, by which CPM Environmental
11   agreed to become bound by the written Trust Agreements that established the Trust Funds. See
12   Complaint ¶1 [Dkt, No. 1]; Lauziere Decl. ¶¶7(a)-(b) and EXHIBITS A-G attached thereto.
13   Plaintiffs’ Complaint pleads the elements that defendant violated 29 U.S.C. §1145 by failing to
14   pay contributions owed. See Complaint at ¶¶8-20 [Dkt. No. 1]; Lauziere Decl. ¶¶17-32,
15   EXHIBITS L-M, P-Q.
16            In addition, Plaintiffs’ complaint pleads the elements to satisfy 29 U.S.C. §1132(g)(2)
17   which entitles the Plaintiffs to unpaid contributions, interest thereon, liquidated damages, and
18   reasonable attorneys’ fees and costs for amounts owed under 29 U.S.C. §1145. See Complaint
19   at ¶¶8-20 [Dkt. No. 1].
20            Based on the above, Plaintiffs have submitted a legally sufficient complaint which will
21   prevail on the merits. See Bd. of Trs. of the Clerks v. Piedmont Lumber & Mill Co., Inc., 2010
22   WL 4922677, at *4 (N.D. Cal. Nov. 29, 2010).
23            3.        Sum of the money at stake.
24            “When the money at stake in the litigation is substantial or unreasonable, default
25   judgment is discouraged.” Bd. of Trs. v. Core Concrete Const., Inc., 2012 WL 380304, at *4
26   (N.D. Cal. Jan. 17, 2012). But “where the sum of money at stake is tailored to the specific
27   misconduct of the defendant, default judgment may be appropriate.” Id. (citing to, Bd of Trs. of
28



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 1   the Sheet Metal Workers Health Care Plan v. Superhall Mechanical, Inc., 2011 WL 2600898 at
 2   *2 (N.D. Cal. June 30, 2011).
 3            Defendant owes a combined total of $337,402.08 in past due contributions that were
 4   reported, but not paid (reported, not paid) for the work performed by defendant’s employees
 5   under the Asbestos and Lead Removal Agreement, including liquidated damages and interest
 6   thereon. Lauziere Decl. ¶¶23, EXHIBIT L-M. In addition, defendants owe attorneys’ fees and
 7   costs incurred by the Plaintiffs in pursuing this litigation. Here, the amounts owed are tailored
 8   to the specific misconduct of the defendant, i.e., its failure to pay trust fund contributions on
 9   behalf of his covered employees and are appropriate. As a result, this factor also weighs in
10   favor of granting default judgment.
11            4.        Possibility of a dispute concerning material facts.
12            Defendant failed to appear in the litigation resulting in this Court entering its default.
13   There is no reason to believe there is any dispute of the facts contained in the Complaint.
14            5.        Whether default was due to excusable neglect.
15            There is no evidence that defendant’s failure to participate in this litigation or participate
16   in this proceeding is due to excusable neglect.
17            6.        Policy favoring decisions on the merit.
18            Finally, while policy grounds favor a resolution on the merits of this dispute, that policy
19   is outweighed by the prompt resolution of this matter. Plaintiffs have already been prejudiced
20   by a loss of Trust Fund assets due to defendant’s failure to pay trust fund contributions on behalf
21   of his covered employees. The strong policy favoring efficient resolution of collections actions
22   under ERISA must be given great deference. Central States, Southeast & Southwest Areas
23   Pension Fund v. Gerber Truck Serv., 870 F.2d 1148, 1152 (7th Cir. 1989).
24                                           VIII. CONCLUSION
25            Based on the above, Plaintiffs are entitled to judgment in their favor and against
26   CPM Environmental under the First and Second Claims for Relief, in the following amount:
27   ///
28   ///



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 1
                                            First Claim for Relief
 2
          Liquidated Damages and Interest on Contributions Paid, but Paid                 $ 73,871.92
 3        Late – Asbestos and Lead Removal Agreement
 4
                                           Second Claim for Relief
 5
         Asbestos and Lead Removal Agreement (Not Reported, Not Paid)
 6        §1132(g)(2)(A) unpaid contributions                                            $ 337,402.08
             §1132(g)(2)(B) interest                                                     $ 18,316.15
 7
             §1132(g)(2)(C) greater of interest or liquidated damages                    $ 18,316.15
 8
                                                                               Subtotal   $ 447,906.30
 9       Project Labor Agreement (Not Reported, Not Paid)
          §1132(g)(2)(A) unpaid contributions                                            $   1,913.08
10           §1132(g)(2)(B) interest                                                     $      58.70
11           §1132(g)(2)(C) greater of interest or liquidated damages                    $      58.70
                                                                               Subtotal   $ 2,030.48
12        Attorneys’ Fees and Costs:                                                      $ 6,101.10
                                                                                 Total    $ 456,037.88
13

14   Lauziere Decl. ¶35, EXHIBITS L, M, P, Q.
15            Further, Plaintiffs Trust Fund respectfully request that this Court grant judgment in favor
16   of Plaintiffs Trust Funds and against defendant by compelling defendant to submit to an audit of
17   its books and records for the period September 1, 2018, through the last completed quarter prior
18   to entry of judgment.
19   DATED: July 5, 2022
20
                                                    BULLIVANT HOUSER BAILEY PC
21

22
                                                    By
23                                                       Ronald L. Richman
                                                         Adam Thomas
24
                                                    Attorneys for Plaintiffs
25

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 1                                         PROOF OF SERVICE
                    Board of Trustees of the Laborers Health and Welfare Trust Fund for
 2                        Northern California, et al. v. CPM Environmental, Inc.
                               U.S.D.C. (N.D. Cal.) No. 4:22-cv-01040-DMR
 3
            I am employed in the City and County of San Francisco by the law firm of Bullivant
 4   Houser Bailey (“the business”), 101 Montgomery Street, Suite 2600, San Francisco, CA 94104.
     I am over the age of eighteen (18) and not a party to this action. On July 5, 2022, I served the
 5   document entitled:
 6                NOTICE OF MOTION AND MOTION FOR DEFAULT JUDGMENT
 7   upon the following parties:
 8     STEVE WHITE
 9     Agent for Service of Process for
       CMP Environmental, Inc.
10     2044 Union Street
       San Francisco, CA 94123-4103
11

12   (x)      BY MAIL (CCP §1013(a)): I am readily familiar with the ordinary practice of the
              business with respect to the collection and processing of correspondence for mailing with
13            the United States Postal Service. I placed a true and correct copy of the above-titled
              document in an envelope addressed as above, with first class postage thereon fully prepaid.
14            I sealed the aforesaid envelope and placed it for collection and mailing by the United
              States Postal Service in accordance with the ordinary practice of the business.
15            Correspondence so placed is ordinarily deposited by the business with the United States
              Postal Service on the same day.
16
     ()       BY EMAIL OR ELECTRONIC TRANSFER: I caused a copy of the document to be
17            sent from e-mail address roberta.beach@bullivant.com to the persons at the e-mail
              addressed listed in the service list. I did not, within a reasonable time after the
18            transmission, receive any electronic message or other indication that the transmission was
              unsuccessful.
19
     ()       BY FACSIMILE TRANSMISSION (CCP §1013(e), CRC 2.306): I transmitted the
20            document by facsimile transmission by placing it in a facsimile machine (telephone
              number 415-352-2701) and transmitting it to the facsimile machine telephone number
21            listed above. A transmission report was properly issued by the transmitting facsimile
              machine. The transmission was reported as complete and without error. A true and correct
22            copy of the transmission report is attached hereto.
23   ()       BY OVERNIGHT DELIVERY (CCP §1013(c)): I am readily familiar with the ordinary
              practice of the business with respect to the collection and processing of correspondence
24            for mailing by Express Mail and other carriers providing for overnight delivery. I placed
              a true and correct copy of the above-titled document in an envelope addressed as above,
25            with first class postage thereon fully prepaid. I sealed the aforesaid envelope and placed
              it for collection and mailing by Express Mail or other carrier for overnight delivery in
26            accordance with the ordinary practice of the business. Correspondence so placed is
              ordinarily deposited by the business with Express Mail or other carrier on the same day.
27
     ()       BY PERSONAL SERVICE UPON AN ATTORNEY (CCP §1011(a)): I placed a true
28            and correct copy of the above-titled document in a sealed envelope addressed as indicated
              above. I delivered said envelopes by hand to a receptionist or a person authorized to accept

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 1            same at the address on the envelope, or, if no person was present, by leaving the envelope
              in a conspicuous place in the office between the hours of nine in the morning and five in
 2            the afternoon.
 3   ()       BY MESSENGER SERVICE: I placed a true and correct copy of the above-entitled
              document in a sealed envelope addressed as indicated above and provided it to a
 4            professional messenger service for delivery during normal business hours on this date.
 5   ()       BY PERSONAL SERVICE UPON A PARTY (CCP §1011(b)): I placed a true and
              correct copy of the above-titled document in a sealed envelope addressed as indicated
 6            above. I delivered each envelope by hand to a person of not less than eighteen (18) years
              of age at the address listed on the envelope, between the hours of eight in the morning and
 7            six in the evening.
 8          I declare under penalty of perjury, under the laws of the State of California, that the
     foregoing is true and correct.
 9
              Executed on July 5, 2022, at San Francisco, California.
10

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                                                    ROBERTA C. BEACH
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